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                                        February 14, 2023

 VIA ELECTRONIC FILING
 Honorable Madeline Cox Arleo, U.S.D.J.
 U.S. District Court for the District of New Jersey
 Martin Luther King Jr. Building & U.S. Courthouse
 50 Walnut Street
 Newark, New Jersey 07102

         Re: Alkermes, Inc. v. Teva Pharmaceuticals USA, Inc., et al.
             Civil Action No.: 2:20-cv-12470 (MCA/MAH)

 Dear Judge Arleo:

          This firm, together with Sterne, Kessler, Goldstein & Fox P.L.L.C., represents Defendant
 Teva Pharmaceuticals USA, Inc. (“Teva”) in connection with the above-referenced matter. We
 write, together with counsel for Alkermes, in advance of the February 16, 2023 trial. The parties
 have conferred and, subject to Your Honor’s approval, have reached agreement to present the
 testimony of Laurence Westreich during the afternoon of February 16, 2023. However, due to Dr.
 Westreich’s scheduling conflicts, the parties intend to complete the presentation of his testimony
 on February 16. Accordingly, to the extent necessary, the parties respectfully request that the
 Court extend the trial day beyond 4:30pm, if necessary, to complete the presentation of Dr.
 Westreich’s testimony.

        We thank the Court for its consideration of this submission and ongoing attention to this
 matter and remain available should Your Honor or Your Honor’s staff have any questions.


 Respectfully submitted,                              Respectfully submitted,

 /s/ Charles M. Lizza                                 /s/ Liza M. Walsh
 Charles M. Lizza                                     Liza M. Walsh

 Counsel for Alkermes                                 Counsel for Teva


 cc: All Counsel of Record (via ECF and email)
